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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

WOODBRIDGE GROUP OF COMPANIES,                             Case No. 17-12560(KJC)
LLC,et al.,
                                                           Jointly Administered
                                   Debtors.l



                       NOTICE OF APPEARANCE AND REQUEST
                   FOR SERVICE PURSUANT TO FED.R. BANKR.P.2002

                 PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors

appointed in the above-captioned cases (the "Committee"), hereby appears by its proposed

counsel, Pachulski Stang Ziehl &Jones LLP ("PSZJ"). PSZJ hereby enters its appearance

pursuant to section 1109(b) oftitle 11 ofthe United States Code (the "Bankruptcy Code"), and

Rule 9010(b)ofthe Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), and

requests that the undersigned be added to the official mailing matrix and service lists in these

cases. PSZJ requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and section 1109(b) of

the Bankruptcy Code,that copies of all notices and pleadings given or required to be given in

these chapter 11 cases and copies of all papers served or required to be served in these chapter 11

cases, including, but not limite~l to, all notices (including those required by Bankruptcy Rule

2002), reports, pleadings, motions, applications, lists, schedules, statements, chapter 11 plans,



1 The last four digits of Woodbridge Group of Companies, LLC's federal tax identification number are 3603.
The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
California 91423. The complete list ofthe Debtors, the last four digits oftheir federal tax identification numbers,
and their addresses are not provided herein. A complete list of such information maybe obtained on the website of
the noticing and claims agent at www.~ardenci roup.com/cases/WGC.




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disclosure statements and all other matters arising herein or in any related adversary proceeding,

be given and served upon the Committee through service upon PSZJ, at the addresses, telephone,

and facsimile numbers set forth below:


Richard M.Pachulski                                Bradford J. Sandler
James I. Stang                                     Colin R. Robinson
Jeffrey N.Pomerantz                                Pachulski Stang Ziehl &Jones LLP
Pachulski Stang Ziehl &Jones LLP                   919 N. Market Street, 17th Floor
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Los Angeles, CA 90067-4100                         Telephone: (302)652-4100
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E-mail: rpachulski@pszjlaw.com                             crobinson@pszjlaw.com
        jstang@pszjlaw.com
        jpomerantz@pszjlaw.com



                 PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b)ofthe

Bankruptcy Code,the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

                 PLEASE TAKE FURTHER NOTICE that this Notice ofAppearance and

Requestfor Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a

waiver of any ofthe rights ofthe Committee, including, without limitation, to (i) have final

orders in non-core matters entered only after de novo review by a higher court,(ii) trial by jury in

any proceeding so triable in these cases, or any case, controversy, or adversary proceeding




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related to these cases,(iii) have the reference withdrawn in any matter subject to mandatory or

discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs, or

recoupments to which the Committee may be entitled in law or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.


Dated: December 15, 2017                     PACHULSKI STANG ZIEHL &JONES LLP


                                               /s/Bradford J. Sandler
                                              Richard M.Pachulski(CA Bar No. 90073)
                                              James I. Stang(CA Bar No. 94435)
                                              Jeffrey N. Pomerantz(CA Bar No. 143717)
                                              Bradford J. Sandler(DE Bar No. 4142)
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                                              Proposed Counselfor the Official Committee of
                                              Unsecured Creditors




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